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     Uxnno Sr.lrns Dlsrnrcr Counr
Fon rnB NoRTHnRN Dlsrmct on Nnw Yom

JOHN DOE #1, JOHN DOE #2, JOHN DOE
#3, JOHN DOE #4, JOHN DOE #5, JOHN
DOE #6, JOHN DOE #7, JOHN DOE #8n
and JOHN DOE #90
                                                            ORDER TO SHOW CAUSE
                         Plaintiffs,                        Case No.: 5:18-cv-496 (FJS/DEP)
      V


SYRACUSE UNIVERSITYN KENT
SYVERUD, individually and as Chancellor
of Syracuse University' ROBERT
HRADSKY, individually and as Syracuse
University Dean of Students and Associate
Vice President of the Student Experienceo
and TERESA ABI.NADER DAHLBERG'
individually and as the Dean of the College
of Engineering and Computer Science,

                         Defendants.



       NO\il, upon the reading         and   filing of the Declaration of Karen G. Felter, Esq. dated August
                                 ooA"
30, 2018, along with Exhibit             thereto, and the Memorandum of Law dated August 30, 2018

the motion of Plaintiffs, JOHN DOE #1, JOHN DOE#2, JOHN DOE #3, JOHN DOE #4, JOHN

DOE #5, JOHN DOE #6, JOHN DOE #7, JOHN DOE #8, and JOHN DOE #9, by and through

their attorneys, Smith, Sovik, Kendrick            &   Sugnet, P.C., for an Order to Show Cause directing

Defendants, SYRACUSE UNIVERSITY, KENT SYVERUD, individually and as Chancellor                             of

Syracuse University, ROBERT HRADSKY, individually and as Syracuse University Dean                         of

Students and Associate Vice President of the Student Experience, and TERESA ABI-NADER

DAHLBERG, individually and             as the Dean     of the College of Engineering and Computer Science,

to show cause why this Action should not be dismissed voluntarily without prejudice pursuant to

Federal Rule of Civil Procedure        4l    (a) (2); it is hereby




       {s085 1634. l }
                                                           1
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       ORDERED that Defendants are directed to appear on September 5, 2018 at 10:00am or                     as


soon thereafter as counsel may be heard at the United States Courthouse for the Northern District

of New york located in the City of Syracuse at 100 South Clinton Street, to show cause why this

Action should not be dismissed voluntarily without prejudice pursuant to Federal Rule of Civil

Procedure   al   @)    (2); and it is further

       ORDERED that Plaintifß shall serve a copy of this Order, together with a copy of the

aforementioned papers underlying                  this Order, on        Defendants' counsel      on or   before

                             20t81, and    it is further

       ORDERED that Defendants shall                        file   responsive papers,   if   any, on or before

                             2018   at           pm; and it is further

       ORDERED               that Plaintiffs shall file reply papers, if àîY, on or                      before

                             2018 at   _         pm.



Dated: August                                              IT IS SO ORDERED:
                       -,2018

                                                           The Honorable Frederick J. Scullin
                                                           United States District Judge




        {s08s1634.1}
                                                              2
